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 6
     Attorneys for Plaintiffs
 7
                                 UNITED STATES DISTRICT COURT
 8

 9                              NORTHERN DISTRICT OF CALIFORNIA

10
      STEPHANIE SMARGISSO, Individually and
11    as successor-in-interest to Decedent WILLIAM       Case No. 3:23-cv-01414-RFL
      ANKIEL JR., and WILLIAM ANKIEL III,
12    MARY BEECHLER, and ANNAMARIE                       DECLARATION OF ANDREW SEITZ
13    BRANDENBURGER, Individually,                       IN SUPPORT OF PLAINTIFFS’
                                                         MOTION FOR SUMMARY
14                                Plaintiffs,            ADJUDICATION AS TO DEFENDANT
                     vs.                                 REDCO CORPORATION F/K/A
15                                                       CRANE CO.’S AFFIRMATIVE
      AIR & LIQUID SYSTEMS CORPORATION,                  DEFENSES
16    et. al.,
17
                                  Defendants.             Action Filed:     March 24, 2023
18                                                        Trial Date:       October 28, 2024
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          DECLARATION OF ANDREW SEITZ IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY ADJUDICATION
                AS TO DEFENDANT REDCO CORPORATION F/K/A CRANE CO.’S AFFIRMATIVE DEFENSES
           Case 3:23-cv-01414-RFL Document 132-1 Filed 07/02/24 Page 2 of 3



 1   I, Andrew Seitz, declare as follows:

 2          1.      I am an attorney licensed to practice before all the Courts of the State of California and

 3   in this district, and am a partner to the Frost Law Firm, PC, counsel of record for Plaintiffs herein. I have
 4
     personal knowledge of the facts stated in this declaration, except as otherwise stated. If called as a
 5
     witness, I could and would competently testify as set forth herein.
 6
            2.      Attached as Exhibit 1 is a true and correct copy of Redco Corporation’s (Formerly
 7
     Known as Crane Co.) Answer to Plaintiffs’ Complaint; Demand for Jury Trial.
 8

 9          3.      Attached as Exhibit 2 is a true and correct copy of the report issued by Plaintiff’s expert,

10   Captain Arnold Moore, issued on January 30, 2024.
11          4.      Attached as Exhibit 3 is a true and correct copy of the relevant portions of the Deposition
12
     of Captain Arnold Moore, taken on May 29, 2024.
13
            5.      Attached as Exhibit 4 is a true and correct copy of the relevant portions of Crane Co.’s
14
     Objections and Responses to Plaintiff’s LAOSD General Order Standard Interrogatories to Defendant
15

16   Crane Co. and subsequent Verification in the case, Martha Ramos, et al. v. 3M Company, et al., Case

17   No. 21STCV23911 filed in the Superior Court of the State of California, County of Los Angeles.

18                  I declare under penalty of perjury, under the laws of the State of California, that the
19   foregoing is true and correct. Executed July 1, 2024, in San Pedro, California.
20

21                                                              /s/ Andrew Seitz
                                                               ________________________
                                                               ANDREW SEITZ
22                                                             Declarant
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          DECLARATION OF ANDREW SEITZ IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY ADJUDICATION
                AS TO DEFENDANT REDCO CORPORATION F/K/A CRANE CO.’S AFFIRMATIVE DEFENSES
          Case 3:23-cv-01414-RFL Document 132-1 Filed 07/02/24 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE

 2         I declare that I am over the age of 18, not a party to the above-entitled action, and am an
     employee of Frost Law Firm, PC whose business address is 273 West 7th Street, San Pedro, CA 90731.
 3
            On July 2, 2024, I served the following document(s) in the following manner(s):
 4

 5       DECLARATION OF ANDREW SEITZ IN SUPPORT OF PLAINTIFFS’ MOTION FOR
     SUMMARY ADJUDICATION AS TO DEFENDANT REDCO CORPORATION F/K/A CRANE
 6                         CO.’S AFFIRMATIVE DEFENSES
     on the following:
 7
                                       ALL COUNSEL OF RECORD
 8

 9          (By CM/ECF) By transmitting electronically via CM/ECF the document(s) listed above as set
            forth on the electronic service list on this date before 11:59 p.m.
10
            (By E-Service). I electronically served the documents(s) via File & ServeXpress on the
11          recipients designated on the Transaction Receipt located on the File & ServeXpress website.
12
             (By E-mail) On this date, the above-referenced documents were converted to electronic files
13          and e-mailed to the addresses shown.

14          (Federal) I declare that I am employed in the office of a member of the Bar of this Court at
            whose direction the service was made.
15
            Executed: July 2, 2024.
16

17

18                                                           /s/ Deborah Rowe
                                                         An Employee of Frost Law Firm, PC
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                                              PROOF OF SERVICE
